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                         UNITED STATES DISTRICT COLTRT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION


UNITED STATES OF AEVERICA,
         Plaintiff
                67.                                        CASE NO. 4:07-cr-34 -SPM

TWEgPDOm HARRH$,
        Defendant
-   -




                                       8RB)EW OF RELEASE

        The Defendant, THEODORE HARRIS, being seritenced to a tern1 of probation, the U.S. Marshal shall

release the deferidant from custody.


        DONE and ORDERED this f l d




                                                            UNITED STATES DISTRICT JUDGE
